Case 3:10-bk-03417-JAF Doc68 Filed 08/26/19 Pagei1of5

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

In re

MARK S. CHAMBERS CASE NO. 10-03417-BKC-3F7
VIRGINIA CHAMBERS

Debtor(s).

TRUSTEE'S MOTION TO APPROVE COMPROMISE OF CONTROVERSY

 

NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

PURSUANT TO LOCAL RULE 2002-4, THE COURT WILL CONSIDER THE RELIEF REQUESTED IN
THIS PAPER MOTION, OBJECTION, OR OTHER MATTER WITHOUT FURTHER NOTICE OR HEARING
UNLESS A PARTY IN INTEREST FILES A RESPONSE WITHIN 21 DAYS FROM THE DATE SET FORTH ON THE
ATTACHED PROOF OR SERVICE ATTACHED TO THIS PAPER, PLUS AN ADDITIONAL THREE DAYS FOR
SERVICE IF ANY PARTY WAS SERVED BY U.S. MAIL.

IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER, YOU MUST FILE A RESPONSE WITH THE
CLERK OF THE COURT AT 300 N. HOGAN STREET, SUITE 3-150, JACKSONVILLE, FLORIDA 32202 AND
SERVE A COPY ON THE MOVANT’S ATTORNEY, GREGORY K. CREWS, 8584 ARLINGTON EXPRESSWAY,
JACKSONVILLE, FLORIDA 32211 AND ANY OTHER APPROPRIATE PERSONS WITHIN THE TIME
ALLOWED. IF YOU FILE AND SERVE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT WILL
EITHER SCHEDULE AND NOTIFY YOU OF A HEARING, OR CONSIDER THE RESPONSE AND GRANT OR
DENY THE RELIEF REQUESTED WITHOUT A HEARING.

IF YOU DO NOT FILE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT WILL CONSIDER THAT
YOU DO NOT OPPOSE THE RELIEF REQUESTED IN THE PAPER, WILL PROCEED TO CONSIDER THE PAPER
WITHOUT FURTHER NOTICE OR HEARING, AND MAY GRANT THE RELIEF REQUESTED.

 

 

 

The Trustee, Gregory K. Crews, gives notice that he intends to enter into a
compromise of controversy, pursuant to Federal Rule of Bankruptcy Procedure 9019(a),
and shows:

ill This case was reopened (Doc 57) on January 22, 2018 to allow administration of
an asset not listed on the bankruptcy schedules.
2. The undersigned was appointed trustee in this case pursuant to a Notice of
Appointment of Trustee (Doc 58) that was filed by the United States Trustee on January
24, 2018.
a. The unlisted asset is a product liability claim pending in the United States District
Court (“District Court”) for the Southern District of West Virginia, Charleston Division.
Case 3:10-bk-03417-JAF Doc68 Filed 08/26/19 Page 2of5

4. The Trustee, pursuant to an order entered April 2, 2018 (Doc 63), employed the
law firms The Potts Law Firm, Johnson Law Group and Bailey Peavy Bailey as special
attorneys to continue to pursue the litigation.
B) The special attorneys received a settlement proposal of $130,000.00. The
attorneys recommend that the settlement offer be accepted, subject to approval of the
United States Bankruptcy Court (“Bankruptcy Court’).
6. The District Court issued a pretrial order, which established a “common benefit”
assessment fund requiring 5% of all settlements to be paid into the Common Benefit
Fund. This assessment is required by court order to be withheld from each claimant’s
settlement proceeds and paid directly into the Common Benefit Fund. The District Court
also issued a pretrial order requiring subrogation liens to be deducted prior to distribution
of the funds.
7. Based upon the above, the Trustee anticipates the bankruptcy estate will receive
$116,040.58, i.e., $130,000 less the Common Benefit Fund assessment of $6,500 and
less subrogation liens of $7,459.42.
8. The Trustee is requesting the court authorize him to sign all necessary papers,
including a release, to be binding on all who claim through the bankruptcy.
9. If no objection is filed to the proposed settlement within the time set forth above
the Trustee will submit, ex parte, a proposed order to the Bankruptcy Court approving the
settlement and authorizing the Trustee to execute an appropriate release.
WHEREFORE, the Trustee prays that the Court enter an order approving the
settlement and authorizing him to execute the documents necessary to consummate the

settlement, including an appropriate release.

Dated: August 26, 2019

/s/ Gregory K. Crews
Gregory K. Crews, Trustee

8584 Arlington Expressway
Jacksonville, FL 32211
Florida Bar No. 172772
(904) 354-1750

Copies mailed to all creditors and parties in interest on August 26, 2019.
Case 3:10-bk-03417-JAF Doc68 Filed 08/26/19 Page 3of5

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

In re

MARK S. CHAMBERS CASE NO. 10-03417-BKC-3F7
VIRGINIA CHAMBERS

Debtor(s).
CERTIFICATE OF SERVICE OF
TRUSTEE'S MOTION TO APPROVE COMPROMISE OF CONTROVERSY
I certify that on August 26, 2019, a copy of Trustee's Motion to Approve Compromise
of Controversy was mailed by using the CM/ECF system which will send a notice of the
electronic filing to CM/ECF participants and that I mailed a copy of it by first class mail to

non-CM/ECF participants as listed on the attached matrix.

/s/ Gregory K. Crews
Gregory K. Crews, Trustee
Florida Bar No. 172772
8584 Arlington Expressway
Jacksonville, Florida 32211
(904) 354-1750
Case 3:10-bk-03417-JAF Doc 68 _ Filed 08/26/19

abel Matrix for local noticing
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fiddle District of Florida
lacksonville

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‘lorida Dept of Revenue
0. Box 6668
‘allahassee, FL 32314-6668

ICO Portfolio Management
:/o Becket and Lee LLP
0B 3001

falvern, PA 19355-0701

imerican Infosource Lp As Agent for
ritibank (South Dakota) N.A.

10 Box 248840

\klahoma City, OK 73124-8840

Jac Home Loans Servici
150 American St
jimi Valley, CA 93065-6285

Jiscover Fin Svcs Lle
0 Box 15316
lilmington, DE 19850-5316

‘ederal Home Mortgage Corporation (FNMA)
:/o BK Global

.095 Broken Sound Pkwy, NW Suite 100
Joca Raton, FL 33487-3503

if Money Bank

:/o Recovery Management Systems Corporat
15 SE 2nd Ave Suite 1120

fiami FL 33131-1605

fOr
.325 San Marco Blvd 200, Ste 701
facksonville, FL 32207-8578

WA 304 LLC

MATHIS & MURPHY PA

.200 RIVERPLACE BLVD STE 902
TACKSONVILLE, FL 32207-1806

BAC Home Loans Servicing, LP
P.O. Box 25018
Tampa, FL 33622-5018

Florida Telco Credit Union
c/o Hiday & Ricke, P.A.
P.O. Box 550858
Jacksonville, FL 32255-0858

United States Trustee - JAX 13/7 7
Office of the United States Trustee
George C Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801-2210

Anthony DiRaimo
PO Box 54244
Jacksonville, FL 32245-4244

Baptist Medical Center
PO Box 45094
Jacksonville, FL 32232-5094

FL Antesology Assoc
PO Box 52785
Jacksonville, FL 32201

Florida Telco Cr Un
101 Bell Tel Way
Jacksonville, FL 32216-9214

Gemb/dillards
PO Box 981471
El Paso, TX 79998-1471

MAF Collection Services
PO Box 2842
Tampa, FL 33601-2842

SJA 304, LLC
450 Sr 13, Ste 106 #244
Saint Johns, FL 32259-3863

Page 4 of 5
Fleming & Company, LLC

11636 Davis Creek Rd., E.
Jacksonville, FL 32256-3018

IRS

Centralized Insolvency Operations
P.O. Box 7346

Philadelphia, PA 19101-7346

Alliant Law Group, P.C.
2841 Junction Ave Ste 128
San Jose, CA 95134-1925

At&T
PO Box 105503
Atlanta, GA 30348-5503

Discover Bank

Dfs Services LLC

PO Box 3025

New Albany, OH 43054-3025

Federal Home Loan Mortgage Corporation (FN
c/o BK Global

1095 Broken Sound Pkwy, NW Suite 100

Boca Raton, FL 33487-3503

Florida Telco Cr Un
9700 Touchton Rd
Jacksonville, FL 32246-8227

Gemb/ jcp
PO Box 981402
El Paso, TX 79998-1402

Mathis & Murphy, PA
1200 Riverplace Blvd Ste 902
Jacksonville, FL 32207-1806

SJA 304, LLC

C/O MATHIS & MURPHY, PA

1200 RIVERPLACE BLVD., STE 902
JACKSONVILLE, FL 32207-1806
jears/cbsd
0 Box 6189
jioux Falls, SD 57117-6189

lest Asset Management
1103 N US Highway 75
therman, TX 75090-2567

fill Bechtold

fathis & Murphy, P.A.

.200 Riverplace Blvd., Ste. 902
facksonville, Fl 32207-1806

todd W. Henry

‘odd W. Henry Law Office

.555 Kingsley Avenue, Suite 405
range Park, FL 32073-9207

Case 3:10-bk-03417-JAF Doc68_ Filed 08/26/19

(p) SPRINT NEXTEL CORRESPONDENCE
ATIN BANKRUPTCY DEPT

PO BOX 7949

OVERLAND PARK KS 66207-0949

Alyssa Parsons

Bailey Peavy Bailey
3737 Buffalo Speedway
Suite 1850

Houston, TX 77098-3746

Mark § Chambers
1870 Swiss Oaks Street
Jacksonville, FL 32259-8955

Virginia Chambers
1870 Swiss Oaks Street
Jacksonville, FL 32259-8955

Page 5 of 5
Veeda Chambers

215 Majestic Oak Cir
Byron, GA 31008-6405

Gregory K Crews
8584 Arlington Expressway
Jacksonville, FL 32211-8003

Timothy L. Sifers

Potts Law Firm, LLP

1901 W. 47th Place, Suite 210
Westwood, KS 66205-1834

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

iprint Nextel Correspondence
ittn Bankruptcy Dept

10 Box 7949

Werland Park KS 66207-0949

(d)Sprint Nextel Distribution
Attn: Bankruptcy Dept

P.O. Box 3326

Englewood, CO 80155-3326

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

\d)NCO Portfolio Management
1/0 Becket and Lee LLP

0B 3001

fJalvern PA 19355-0701

ind of Label Matrix

failable recipients 40
\ypassed recipients 3
total 43

(u)Caryn Papantonakis
Johnson Law Group

(d)Gregory K. Crews
8584 Arlington Expressway
Jacksonville, FL 32211-8003
